   Case 4:22-cv-00118-MLB Document 12 Filed 07/08/22 Page 1 of 18




   NiTED 57R7ES OIS 7kic 1 CD weer
 Mo HEgm, 013712.1c1 C   h-of
                   144 E     011/Z-5:1-0                  FILED IN CLERK'S OFFICE
                                                               U.S.D.C. Rome
                                             r.




                                                            JUL 0 8 2022
To hrioy ;37 -1-3- Orti Dr1/ / A         Of
                                         -

eeff---/-)
                                                          KEVIN P. WEIMER. Clerk
              S'eciAreA                c. .1'10 r        By:. —
                                                                     Deputy Cleric
  (1 Th4//I               co-P

v5
Kt ,/-11,ev tA
Oekc grd's in a v&T                               zc
          ee,




           W ifwz ate' Je-t)
7A1.4. 10 0,4       hey e-no r
0€_-c-ko J f /    ki-orM3001



In o 7: 2N         b       rEdali       of
             "gocEPt4k E /1 s'ilivc -rio ivs
    Case 4:22-cv-00118-MLB Document 12 Filed 07/08/22 Page 2 of 18




      co E s       /vow)   VOiri y 8 reit'                ory
    ,e)   gra 5ç                 0.1hove.. --- Sciy jefa lr
   CI.C41011  ci s'4., of) Co /1-/- t:40 cAsn      Q.--/-fo me-y(1)
     ks1v      3-e."
  ii 01 0,, me, Ad. btnAs-f,,              A(A411,0,-Izel
   Str)clr'    142.,c
             l<0-r    z, c-0,14.5--/-,xtr, Nom
       einer, z.Z.P        rc,-frid,<     Ar4cI4,
                     eQr .        ol ker lr 13 9ag3o#t c
    ct Acre 6-5        2,3 S' 6-0(c.
  a°111-) 7-01.4)-er s             /ray                         $o3 3,
 rte r             # Ici P-or 111W kl ./14-T ,NA/Ezz.
Yovev6-               k0,4Arv/I         sg NhttheA         .(;\
 7 c4. 933 0,r)           5 4-4/ye,)w, /20* r./4 1                dew- "Jr
 66to 744/            eHrr Tor cki )1 I el behoti-F 0
 C1         Cecil/1dd          ca,i1          ect kQ4,1"%c
  rl pri vi                      014er.s. 16901A7r ) owl ti
tin Known CC, c.-1615e- y fie:51004J et)1:5 -
1Dtb-for4              di .45         Ictei         ieitto rviey
(i—Tc4c4,            plv e.1ei ci-Pfpr 0 ifee)              19,ctritv
 tr4--t-to r ikiy 5., )j            /c      ci1           J.
 c,,t4st, vt5f           ot.6r-f/on            4/Sco             c_ers
                       citr/               ocoe.s"79          COCA(4
  It LAC ov-Gi 4,-lles
 See,                        V 1/o4             r c     yI         e
          )  007 C. qilke                S,0      K1 NO
          Case 4:22-cv-00118-MLB Document 12 Filed 07/08/22 Page 3 of 18




                               t(
   cc, or&1iv i y         )         i/tii eil co           0 ry).ey
                       b
                                                       cl 40- I 0   AcitS
mi.; ..ii`,e, 10 i'V' (5 eleff S:' or 61/111 716
.-ro          e, cow-6 or _CIC-t6 ail ct_ Chl ei1 71, -
 pert/ LAJ0 j o r                A is-ho v---110,1 0.1- -eV/4e_in C€,)
  k )5           Coil ducl               01cm.      C2,0)16".     LAIT., Qt
                  _.0
 6,0A4Z11        011          0         cetr` al        he- CcAxrit 'Pcif 11 )S
      0 C_Orr.eC -                 Ck      M siir -e- S:Cill-cl - fAl or
                                          'e- va ‘(,1e,y) c e„ Sidik,41tthd   4)
 N'- fr oLc-1-          7•C       /St
          .e,, coo(•,1) ' '--/-- m ci                   0( Iso   co/2541kt -fte
      Cc LL      Or-)              e._ Co
                                1 -4 7v-
4 ,23 . A/dt, )_d_ L/ 9,?) In(41
                           -1       .,.,:s_i__13_76: ) .,
_Nqhiii iffciii ciiii, ) ex trk, /4 ek, *A77/ of A €_,
 0 )C               474tartieT:6--
                  e„_                 0 ii A     Agir ,
                             /
  l_s 491 limill',Q. , -...cii,e(3, .16      9 i-) q H0 4er!s-
 d c4fy 0f Cook r * )atoci.,                            ef , c.4iloci

     Q                 Et/     1AIts      0i ", 0 f1 i CM/DU ( r'
    3i     '1I1 q l'hj     -AS' /Go)yeinr 5461
//Nice, 19 /sq., il i- ,le di..e, r i's o/ .4 4    - 4 cc

  /    c' A          /le_ Co cti-14 _or _if led' t- o caK,reci
                  (":"-bt-i-eili,e 0 16d 6) "c 4/1cii--4?-, ^IQ 1 '11(1+
      V     7, ,Xe cour.0_,                  gcdi,,,,._ -ii,
                                              j *. t vie- cticilystis
             i    s           ccg4()I's'  eXpvii_ Li Q., ce-cfp14
                                                 71-0                              -
                      -) 0,1 c(r_15,e„ _ CA__,2 e1/ zwoone._ ---dy_...
      _Q.    oret.e_ys, PO.      0 Pre,iJ_.-czA 5 //v 0 iv Ls- I'
      Co cc1-4-,                              2 s
            Case 4:22-cv-00118-MLB Document 12 Filed 07/08/22 Page 4 of 18




                                    iii-licAkr) / r v0 iii .. 1, _ _____carA_
                                       _r_I-41.e.„ _.)_26,LC 1_4 o_r_e4-ke,
                                                                                       ,


               04.0 _
    re &,,e, r--at\         tt   S o..P d vu              roceciane_ _
            tAtk_-e_s- _           ct-t__ elvi____ Qt_ cv_Aky
                                                                             1
    _ re-Lar          5.1_c    ) IA_ C1.11_0:9 tar/ ---__IN,1461
                         7
        -P 111A(5.5" )_ 11/.4-4.11A_ pr--.S-CrIteSii -1-11A4 7live.,
                                                      t 11_44
                                                                     ti R. _)___________
                   Gf____./h e _ per,s_ad '5._ ky) (2_w_Ip
                                                                             SftQc
               ineYA:Maia,_)_Art_d_ibleit4 ..tarlint ot
        gi. r.tesN5(20_5.12Te..,,_//104,11'Y----       " -A-e, d wo tr-evy
                                                                         ,
                                           ----            J., - 1_Hi,
                                              4_g/_ae-2__sacjg_c
                                                          ,            ,_v_in , -.5
               itAi.-.-f _ries: .oAtS--
                                                         e. rizt_t_ of 0 —
        Cr.c.45pasis-ttak_wil ,                             1      -i)
       W__o_iirrptel 'fel__ __by _Rs is--4,/            4
           g clit,f, '2_4
     etiso cerilfi es
                                                              n_o_4—abc,ots
.
                                                                 dI
           c
                                                      o'.1-
                                                .E.0 Q.

                                      cr-eas_
                                                __caord_44
                   cf_Le_                            _
                                                     .279


                  itas_11                   q       cut
             l                                  an erIS discw ry
       6         ec-floyl_.3.1:9_
                                                                _O

      TAAL              G
       Case 4:22-cv-00118-MLB Document 12 Filed 07/08/22 Page 5 of 18




_SAMOCIA e,                   _Sto       qv\          ---141L4k _o4LotEt
                                  (
                     i_tartmc_t4
                            .              _         d iffrci v Rcy
       bires-t       o_1/4,                             erzto) or
                                               c                                           1


 ,QA vi :5-0 7
             b                                     OA             / 783
  c101C/1 afri_e_c_41 _/hatzle_42                     la_A
                                      ci 114       I 1-f)
                                  P
 oc4      _le5 ot                                  ctir      ne,(100.6kiej
 Pc: Lies+) Qr.               e                             Aod-V.-/     Ktede.,:t3-


                                 1/4/11-;--1      q Air
               LA"y:efs_s__ckrL p lezailanc,
_grtv_k    vt_adV_ r-ASp_06 g        Pat, ckc.cm.          _
  n 4-11Q r re_ reS-e_64-ct1/011
 iCie, 3, I           _Ade.'               a
  Cor1ltAL4' (514iieS _                      (/ cr_10( 11_                             _
             rilyi            d Jai            c          p_e_D    Q-clitifro      _
        sq- _0 r _ Co(rfr_o_ve„                    __ot      itrileLe._     e_v" dela
                      /s c b
 14_cis                (IA._ So    4laci
   4rI Vo1o S (,t)            /tickles_ a_ y_o_aci —                           •




    0L-Rt_ _ _Pt() (AAR, 04 -coy- on ethtl
 Jae_          cok figa         rtv soil
   xshq                 frAtv, _mo   At ie._ 0
 Cem                    P. 1 Cf:)" &t 415NW :203 '
                            —
           Case 4:22-cv-00118-MLB Document 12 Filed 07/08/22 Page 6 of 18




      S'im- t_kr,10             (4e, 33              0_0
        Egi 3     I ctifiv_ye..r      511c,          11          cAlnA11.'4
                         ke,           fr4                                         f/).P

      .Pckc.+             trAfA.)                -1-riltAaoti
       c&i) +a C                                f_Pi.Li7Lct ti
    ot       ocieel ott potd--                        Lao iarev_iotAsi
    m ode_             _711111.164
    f_Lx4     33 6.1),
                   -:    xi cull /4/00 /0
    JtkL eJ_ of 1      oIestoirL cot) duct                                  clvi
                              kr's    _eta-1y    _of'       Cati.44.1,4_•     (-4,57

—                 l_c Q_1(-    o                C0 ur—ti ?_ti
          fgr                                              dU4',/--04
     -01 Arr.) RyS                     xtify
                                      I'    jt--41       Azoze-
     __cco auc-         0A. _msa.,5-04_41     11141 _014 d
      riVe      de,--terveit,biet, q yld /)or     71_11(

        of: Qv.V        mpp.w...c        rpo    ) Co ailQ e-
       a                                          CLsil      7
       38%                  790   ahrylci I .7 1.1_0.1x4 ,-
       h cocs                       e uiloa
                         Cot&   h_ct  AdL44611 4LMJ4
                       0_4 cm/           64)i)     1,/lj

                     -_                         o•
      _Mg) gAe_e2 :7/4                4r:1- 267_
     egl ur        .b
     V0)        owl)            qvL           rtn c4 _it/        Jo.-by
            Case 4:22-cv-00118-MLB Document 12 Filed 07/08/22 Page 7 of 18




     cA„    fQ-0‘54 kictile., 1              cAie_f_              ,      e,         citc,f,51
                     e. Lc                                Ii                  III
                        e-                 tcciiie., all _A-1J
           (Mg-    g4! __PEotTari_q_ker)                      "       eio
                       ot/LC ed-                       -r.A Lizt1/45
                                                       C
                                _CO                               1-er


                   CQLLrlLJ 06424
    _        e, 4 /A rae_v_S kodkr._\yil
     Wh i410 K              _GIL leo-Mr/ •
                 1,ci, at.4, d
    • u_i/i 6- LL            0 lie                     ivdy            efo
    o                           aro eys.             ctirtiks
    141                                         cl .5_
                   0,1 iNe_co                           PO C, L
                    1L100                  93 ofri iJ o 01003
     NcurriviL4,51                        tea          cci,           lo lj
    JLQYT     0                   IdeTo4C-
                                  _                     am/A
      A-P()Paw-L10/1,1L vi                _102-10-4 Parzhe._                 0Sh) r
                       _41112_4           MIAtt Le,
                                 ))
•   _Cd_re,'L4.41,57:rc44             j                                       0,1
                                  1__         Tp ozLiedt _
    •-1)0 r —(51c rvc,vrt 0                 6r,iterieJAI                      _DA
    rtcs)       .r,c4                            ) V(al cicf i 0ntr Jsk
      (Al         __1AJ     .
                                                  ev4
         Case 4:22-cv-00118-MLB Document 12 Filed 07/08/22 Page 8 of 18




      GtLe                          p (AL      S o ncif                CoicLt
          I VA-r-I              iv
                                     tv_e.
                                             Li
         l(Ncki.,k,                     T                g               (4,14-cv
_Co cAP-4                        e_vc() i-P •44,
                          C ovtArAl                 o gel/ ono.
                          __57 c_ISLcei Ai e_c_-ied
                      Co ur-/- 14SQVI               r
 eXq           dev                                      ci:d woo- ry
              -044A-is                                        rA_e vehq lafia
 P                lb                 d os€,             Such           i4LYaieTIcrtioilj
                               Q al1 3-,5104-51                   71                        Amt,143--
7%                        LiJ               Rein dlitoi/1                    01       J.,e."1.01116-it
     r        .
              eiriyeS                             oury             ler                ecel-PPPQ
col^441               o                 co-VAIA -      6
      cdtk5      /1(1444                       K LQL41iii, 11
      te)(.      Vo ued-A-(4 1                         _V 01 ciftel                 Rule_
Av
  A           hots             pad-..E.        4/. Ail                                        i
  r_cLuid                     i71&a                       _q_ 104                             t
        1/4)
      1.01,,co_atitcpr                             iiik       1
                                                                   .11                    tcp,_
                                               Qt"_a_L                           _o
      Ci VII              ere c Q         Le                                     ell
      T-ret                                             ovd                               _12 _41:_r
 &ill                         'S.     4a            1211(1         /A                              14
                                                                                                  ;-
                                                                                              '1W Ee
                           0k-14/ ex.)              keditc2A_Fre-_c_
                                                                  ' orA                           rtA
              5110 pi 4__L-fr                     s.     4                            C
                                                   Lj
     16t4"'                01/a42-r`                                     C../1 2t
M CtC                                  0rlov                                 _        s
                          V                 7c
          Case 4:22-cv-00118-MLB Document 12 Filed 07/08/22 Page 9 of 18




     NO oie. cc4in Ats-p-Ait                                   ri;/5CatAey
         y            1%5
                - -Pk)                            ar_n. 4ey       1A)R1/1   AR,t )
                                                              e
              5c_o_Vek-_-/ag______D
     79          4)0           o gtV X                   ?L`r (I ' 10

         rej(kenclo)                       q vIA.
                              t SLve ci ITc'el14€1_ :71Pic_R_Cf _
         et     yro_LIT 1_11 Loi 4t,tc_   Q. 5         IS
                           cdc, r&           Tkca!`tot    en
              e, rats-                     Adop
  _A/Ivo kLtie 4covtro                       COM          GI

                              cKer           Pe'cze ill)            7_
                                             I#
    13--__Ist_Wo_32_                                    itaiiicip     9i0
              qssin/e,rt:1)            _r_d %) Ackhirioo )
 t Pia   -3914              4---          ail re
    'ze., tiot.                        3 4-Lci 51.ki1    5cLd Si773_
                                   g                    i$           3s?
LE lot_ aldp) (pr     curlic*r i
____Eiirkrifereekcc_tiv 1h d off /4/126S_
_                   _92q p:3 /7?`3,) 9?
  CtM cir .299_5-)j 4         isarn__V4
                                            ail   a xch
 152 rADi                                   SO Z014/.4,4
Case 4:22-cv-00118-MLB Document 12 Filed 07/08/22 Page 10 of 18




                                                                     frvo          -srvin         . 5
           vor/        5 1,-                        a -or                              w -o-,i-

                                                                         o       iZ-
                                                                                   {fr o-av             --

                   -/V u"    )     r171tp-1/14                       1                  \2

            f'r*                 97L
                                              T A 10
                                                                                 Z1.
        ,f tr").   W.F7r-rV                   rOj.       (y.     411 Y1            r
             GJ-p           wT,1         J   0 :"0/10.S 7ryf             Jqj
                                   1T
        517;)       /pa 4,,to           ft-el       try of.-- ry car
                                        tretv?,:.pv-i-S II - 1 to, 01;#7)?s<
                                   -
                     6,77111 7-
                              P7 04 -177Nviki                                 SWPrii
                             yvro-- 7/7         14-7T-3-e-tp.,   7       fir—ti-a-tfehfs
                      yunif-tym                        1/11.tv               s
               frb               01 —atOr1ZZ.                    11-j*

                                                                     61-0711-45 7.       .-9 10
                   s.sy.70Tru

         IT LA1;•    -3 6' WHOA) biJ            c        sp      hJ          jt7



—Pr fr(--e7-07-4w017----.15-1voi -D 37/1/ J                                  0


                 --17 -crty           v-TY, -I.7 1," 0-07
                          1-) 31 ws'-)    X--?cAA ,H,Y)
                                      'rhizTri A Iv
         Case 4:22-cv-00118-MLB Document 12 Filed 07/08/22 Page 11 of 18




      ptArritcae.          w14h                   p_4(v_c_eed
      CC )CI V 5               4_1    sq 1        ,
                                      Ice..4
    pi te,kt nj s 0\64 &ortos (3 f
           ss 1al     q Ii tdio                                       0-1     1
                 101 Irk 1(11elle
                     \               Af-5--e.                               cLe
                                  ))
  (Am ids        1-         4.Ly

                      o cri-14 f`e.-5 aelSe 7 0
                                                                  1             e
    AI vw____       chicao.v. _ti_. _,--__. _ok 1--k-4 14-4---1) 1---1------ilS
    tV X€.6.4               1-       .otil-to reityT rja- Cctc 4-.
     1


                                                                                    4
                    _&12taii ii..4 fQt fo_clek- AAJ-.
 ___Ci vi I _ote_119.4_ rtALL0 7- c..z-inq - 0. ), Ye,r-LatAil
             k.R.s. no re c pels • otb_v Lc": . a 71-orrtays
        - -Ppvt:+-4 pf fiat V.R4 ct 1 rfzu (.4 S' oil . 49 ibborrave,
  picciLli../0 a- , De,spick. __Ae.„, •Potc-/- zth
                   11-94e4 Sat (A. tee. or alere_cl
         cK 9' y ,e4c          _al) _a         3-714:k :51
  _T_Al ) (A_tx 40 fer\fec _Service. 0              --Bc    r
_ ...i'._‘.1:-.1(4.r,e, fo eilli airt. ki 1
  _c0.1,41v4_j.. tu I'M
                     714.. ,c1 ss 0,-
 _ylectr_J __Riau_ ,reizti fii___ o   '&                           iop er
                                               /
                                        7! 07/08/22 Page 12 of 18
    Case 4:22-cv-00118-MLB Document 12 Filed
—
                 „pry- ,-/---avaLr                                nJ          r11010Apj.
        Ci,r/pgadav/                  IllYTOF (1?1-6111    --)5-11-4---dy -V ----
                ea-1ff_ f          _Frill,   ',Flirt/0j --Jr]              0
                        I                .
                             ;iv /(/T.pi( 00 -77410              g
                       of 0 at-s-a             vr,



            ,                aCrxr4,)                                       )1(0
                            1142 If{       .c-oa I..0W                                   yo--- -

                    rkif      (5-ir51-1:10x -vt                    oil_ sr a Y1uirt
                                                                       ohki
                                                                      v -k%ow •y-1-1j.
                                                                                    1
                   --0           o 0#
                                   L7                            0--s 1- 71-Sz)      ?tr
                         )1.2 ew,0            p



                   -?v
                                     v
                             7-/-1/ -7-(
                                       :900e                 vt- -r --27a5-----
                               ---tp/ pv—it .)-‘31-94 y/p7 --JP') 0,4 £s-.0
       fl                  70/                          brty ,:/v v2,71 -

                                            oo& ii(ET V 72.-Y)5                   t,tdo
                                                                                  'a
                egpo
                  a           K)             1 1.71,ra--s .     :-a-1/Ab-D    17p,
                                  _0                                                 'a
                         5) 40173—?                                 kAy1,---7),p-f 5- --
            T3t7h1k7 tit ."1'711-i-jo                         1-11-(
                                                                  ,7      .14-trrvIzs-
            (4 y) via sn—r-ii 11) S., Y1-0                        +.I:1 m L
                                                                         e
       1/17997L-CIT al: - al-11T 11/,_                                 o4m         c1
                              f-T-cvl  -

                     -Coo.)        //LTA-a-4v of 1 +
                   I
                 dwa        51afv7t-f)          0,1_                          -
            Case 4:22-cv-00118-MLB Document 12 Filed 07/08/22 Page 13 of 18




       Nil            tn      Cede_ J-ie.
      ) e..-+-    .-I- 4Q,... in .E. 3-Tet ,..5                                                     -



         -P.ckc+) 1-10‘ 5           ArIVLei          --itickip f0Laf_k_49 Mk_
     _Joy        Covri-OLAM ci             rile_ MiciltooS
                                           '71-Q                                      __qv/   _
         10 -Mu            .P I 1(5_s rci .5. it/ry s-th _Kt r
      alsc,771.- . -L--ck 4 _a_ __ _b_0() _u_s______e_x p 'I 01/4A .6v-1-1,o_n
        4-Q(         4.:_k e__Ccw r._..-.L I •i-c)        4o /      f-NtV1,71ri -,
                            cr_04 'ik._ co_.(4                       by
      041 cel%r o          ik.___ _Co tir-7/1 ID bCA 77)
      Epo c. , gq3 j4 re i m_C4-4-rt (\J..
                                                   i a °LA/
       b e-JA inor-. t_ _cl_edull.ez,_Q:_te. LAri d___k_l-tv--W-14-
            rcttitJ Cf a ,.1._ .4e..___Catztr+),1 bi/      '71j e.,
        cl-ffo-re) NT- ci_e_l ike_ fr•ek:/E,' 64 vta...e 0 f
        coGif---1            ro cSs'k,3-           pOr'     71/ c     q      exieviliS" —
          a ) i ci S ow A p er,fard
                          ;
       Is')    Comple.   Vadartioti o c 194 1k
        '41'11444          ()le
     -DI aK.:1' 4           h /CI -illityli s , Wit;1 -1 04 1_,                        _
                                  10111i-Nia9 Ii cdif'2- f)•_
                 1         QE-1410, I _boil Av 40,..e. A
      itex_och.aids__ _.//_/ -_ //,_047_0_4 _/._.e.i_-L                     co o_iii i (.241e,_
          QL IV why               aviS        vi a 1 ciiim            _u .e...   II           _aa
            (\Jill_ .4:1‘C __2:_ev<_:11_ 4=ke., ck-kfroP 67 s .f) rtYrs_
                                                                                 iii ,
                                                              i
•    _<4,1A 419\ IV..,_..,_ +0 _ CialWIAAKI)C clfte.... tv,1Y - i    c-4 i r
  clikeas i A felmir, _6 --fa_ 4 t....             (,) L./- — pas-4-
__ _ _ctutc, cyl        Cot ec-ilotiSt
                                                   L2.
        Case 4:22-cv-00118-MLB Document 12 Filed 07/08/22 Page 14 of 18




             .e,sti _          71-_,r_tdhff) An or PlydrLir
     A --     i+ koks_mcon i f nit d 1-0 h/e, iicks
                                 d_1(2._v_le.1'v1 4
                                            .
    1iL                         Act 'r          mar e.
  _ntri          d ItLcIA4 caTilAhLj(Aire ct-P
                                        .e-f4 A.01
               r 0Lf2i/ic JaSA4/2._ lg
   __p_tit,f_dioitc9 ____e  el c-e4.____1(1-
    41.0'4) 6() hiii1 /410m) 1, 2j 740
      .e-t                             (- -
                                             hf

                  —                _d&       c.                 -t

       o . a .P 7_tj           Au 0 SYIT_
    40-1.4_ .A                                  t        - .Act74-
- Pk- -ii o 4 co /1. J("La 1-tai                   4i_a-)
 --f_r1_441 A p    cAve___) ii_o _c..1,3_41
                                         v &to cirtb
Ct totit-i- Ai' c1 Ate LL/es
                                          Le_ed104____D r
    u ad crAto kiii_ a_ 7LL. loi w, Aritees%
      Weileo,i €4El c , g 7         th ctri ___641Atiinc.exi _
        e_ Crowd-               "roin c Jar cur-e-

   f (A-41) e„e —trIviaittus_cm
   -Pi' )JiLi               ectilKintipit_T c. mr-f,
           Case 4:22-cv-00118-MLB Document 12 Filed 07/08/22 Page 15 of 18




                      -1-1_0__Kw.e%     71_0                 ckc.4
      411014    vvv.e,:fcti7 5'04kis.,-t           ot1 e
                I, k.€,
      A s co./IL/a/                   ctify        veo
             S J(11 4( ft 0                         _tty- ri_eys
                    int 0 fat,t3.-       illyzr re V a) ye__
    oir±6 pttyl itcar ck-ffeyry               71-0        04'
     _re Co niz                 IA-1-ef C-eQf) /44
   _ Co L -                 1_6           pe_rfLi-lo
    ,To,vo      (3/41/49A1ms1) 440            — 11
   _(           v_E[v_          pin_l
                                                                    0 q0 )—
     be.
     be              0         told' _ficiJc.
     Ji       Atte,                                                /0/42,_
             C-1-100 Cc\       W h it)     et        e-    (46       C\
                 j       1 -61(1      fe-t" 'PO 14        by     IA e
            ci0-1/frup-/ty C-0144jt4 vl             itk
               c,tr-t msit _ Ial pojc Sci crlian_,T 20.9_01,1A-S-1 -
                    or               s                ve.
        01_417kel_ _ItAk 11 jj _5(trylv_ re_rati-ct I
    1410._ ti      .8.(Aakoe4,       fo_c,         ?.011 UJ iseet
Jo co Mt( or) 11                                          rtv,20_91_ )
          V                       Le--     eiLivy,
  Asc.,. AA_       ---_‘ra  p (2 6.cinKr_.40, _Oct_ -Se
  7911)._
 Case 4:22-cv-00118-MLB Document 12 Filed 07/08/22 Page 16 of 18




  Wi4EgEfogEi
          e-rely)             c1,5"           I e,
   eve 1                          ftcJ          gu,146
  so'cinc:+ion.5                      v;0 I
   Or         )     M cu              °to       cox,5"         v
  t1.411                     l'ele-0,1         Ls     1             4(4
 )Ackve-          e-1A.    re.4-okt    jut r ii d_        /0
 ,                                     Qh divc                 s cove?
 V I cA      FrrAv.           utov          e_ G064




i0c41 J-41y                 2t):22
               Case 4:22-cv-00118-MLB Document 12 Filed 07/08/22 Page 17 of 18

                                sozusigojasszostaMmiszsgsmo
                                mica to sztorevai so ma wo-lonar
                            •             7020 0640 0001 3601 1333

                                      ions cm paaar or annum
                     •
                                                   14_— day of
          X hereby certify that on thin
                           /    009100 VMS mattes
                                                         to
          "Iginfa Pram



           7020 0640 0001 3607 2976
                 Patrick N. Arndt
                 Nall & Miller, LLP
                 235 Peachtree Street NE
                 North Tower, Suite 1500
                 Atlanta 30303-1418
                Robert L. Goldstucker
                Nall & Miller
                Suite 1500
                235 Peachtree Street NE
                Atlanta, GA 30303-1917
                R icl,„
               L/0,1
                                      -e-,0to Jen
                         /40/
                                          Creek
      •     / ,_6rivt ii5 Ltfor-J,
            C7     303-0
                   7020 0640 0001 3607 2983
                                             *A,     ,                           .•

                Adiatog said documental In the V.S. gait mess tomean                  at
           *



                                ' =an tnituni gun isznavor OW lohnere
                           bzonhe
        The tiniN
             ---01041Wid deuteron under the penalty oE perjury that X an the applicant
    ' --a4u.thisraittniAtot   I have read thin application, and that the Lnformetion
        =tallied go We atplicetton to true and 00zusat pursuant to 30 WO 11746 anti
        18 aaa 11021.
                                                                   II

        Dunn thte         day óZ
                                                        speettui3.y
 'hone O-20---C33-t:191 079.,143
5-3re,they Copper @, moi()114 (o41 112,
                                    •ri                          St ,   gigi a        yvv""


                                                         cetnittao 6-1-40$o
       Case 4:22-cv-00118-MLB Document 12 Filed 07/08/22 Page 18 of 18



                                  11111111
                               7020 0640 0001 3601 1333     -

                                                                         U.S. POSTAGE PAID
                                                                         FCM LG ENV
                                                                         DALTON, GA
                                                                         30721
                                                                         JUL 06, 22
                                                                         AMOUNT

                                                                           $5.51
                                                                         R2305K138403-09




          CIA/v

      404v
           00
„es:51..
   Q'ozenoss
